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 6                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
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     SHAWN VAN ASDALE, an individual, )                 3:04-CV-0703-RAM
 9   and LENA VAN ASDALE, an individual, )
                                         )
10              Plaintiffs,              )              ORDER
                                         )
11         vs.                           )
                                         )
12   INTERNATIONAL GAME                  )
     TECHNOLOGY, a Nevada corporation, )
13                                       )
                Defendant.               )
14   ____________________________)
15          Plaintiffs have made a Motion for Reconsideration Re Sealing; and Request for
16   Clarification and Status Conference (Doc. #262). Defendant International Game Technology
17   has opposed the Motion (Doc. #264) and Plaintiffs have replied (Doc. #265).
18          The court does not believe that it committed clear error in the Order and there has been
19   no newly discovered evidence nor any intervening change in the controlling law.
20          As an aside, and for clarification purposes, the fact that certain documents have been
21   sealed does not effect their admissibility. A status conference will be held prior to trial for the
22   court and counsel to agree on a procedure on admitting sealed documents into evidence at trial.
23          Plaintiffs’ Motion for Reconsideration (Doc. #262) is DENIED.
24          DATED: June 14, 2010.
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26                                               ________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
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